2/9/22, 6:37 PM                             Case:
                       Amazon.com: Emoji Flannel     1:22-cv-03652
                                                 Fleece                   Document
                                                        Blanket Emoticon Smiling          #:Blanket
                                                                                 Face Throw  56-1Novelty
                                                                                                    Filed:Blanket
                                                                                                            09/30/22      Page
                                                                                                                  Yellow Pom    1Fringe
                                                                                                                             Poms of 19Plush
                                                                                                                                         PageID      #:3023
                                                                                                                                             Blanket Ultra Soft Comfy Throws for Bed Sofa Couch (60",Emoji)…

                      Deliver to
   Skip to main content                      All        emoji blanket
                                                                                                                                                                              Hello,                       Returns       0
                      Glenview 60026‌                                                                                                                                         Account & Lists              & Orders


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   Home & Kitchen › Bedding › Blankets & Throws › Throws


                                                                                                             Emoji Flannel Fleece Blanket
                                                                                                             Emoticon Smiling Face Throw
                                                                                                                                                                                   $
                                                                                                                                                                                    3299
                                                                                                                                                                                   FREE delivery April 9 - 10
                                                                                                             Blanket Novelty Blanket Yellow
                                                                                                                                                                                   Or fastest delivery April 5 - 6
                                                                                                             Pom Poms Fringe Plush Blanket
                                                                                                             Ultra Soft Comfy Throws for                                                Deliver to Glenview 60026‌

                                                                                                             Bed Sofa Couch (60",Emoji)
                                                                                                             Visit the Bedorm Store
                                                                                                                                                                                       Quantity: 5


                                                                                                             $
                                                                                                              3299                                                                                Add to Cart


                                                                                                                                                                                                     Buy Now

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                                                                                                             Amazon Rewards Visa Card. No annual fee.
                                                                                                                                                                                   Ships from Amazon

                                                                                                             Color: Emoji                                                          Sold by        Bedorm

                                                                                                                                                                                   Return policy: Eligible for
                                                                                                                      $32.99              $32.99             $32.99                Return, Refund or Replacement

                                                                                                             Size: 60"
                                                                                                                                                                                         Add your 30-day
                                                                                                             Product           60"L x 60"W                                              FREE trial of Prime
                                                                                                             Dimensions                                                                 and get fast, FREE
                                             Roll over image to zoom in                                                                                                                 delivery
                                                                                                             Brand             Bedorm
                                                                                                             Color             Emoji                                                    Add a gift receipt for easy
                                                                                                                                                                                        returns
                                                                                                             Fabric Type       100% Microfiber
                                                                                                             Product Care Machine Wash, Hand Wash Only
                                                                                                             Instructions                                                              Add to List


                                                                                                             About this item                                                              Share
                                                                                                                 【Size & Material】Emoji Flannel Blanket is 60
                                                                                                                 inches in diameter with 100% microfiber polyester
                                                                                                                 flannel, soft, cozy, warm, lightweight and
                                                                                                                 breathable, fuzzy throw blanket suitable for all
                                                                                                                 seasons.
                                                                                                                 【Novelty Print】Round emoji face design, yellow
                                                                                                                 pom pom fringe were served around the blanket,
                                                                                                                 which increased the fun of the bed flannel
                                                                                                                 blanket.Trust me, this funny blanket will be the
                                                                                                                 focus of your holiday decoration.
                                                                                                                 【Versatile Usage】Smiling face blanket is not only
                                                                                                                 suitable for bed, floor and sofa, but also makes it
                                                                                                                 ideal for camping, backpacking, traveling or in cool
                                                                                                                 nights. Give it as a gift to family or friends, who will
                                                                                                                 be happy to receive it. By the way, your pet dogs or
                                                                                                                 cats will love it too.
                                                                                                                 【Easy Care】Machine wash in cold water, gentle
                                                                                                                 cycle, tumble dry on low when needed, avoid direct
                                                                                                                 heat. Put the cozy blanket in Laundry bag and
                                                                                                                 washing on the gentle setting.
                                                                                                                 【Guarantee】Our flannel throw blanket will be
                                                                                                                 sent by Amazon. We promise 30-days return and
                                                                                                                 7x24hs customer service. If you have any questions,
                                                                                                                 please feel free to contact us, we will give you the
                                                                                                                 best solution within a short time.




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2/9/22, 6:37 PM                                 Case:
                           Amazon.com: Emoji Flannel     1:22-cv-03652
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                                                                                     Face Throw  56-1Novelty
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                                                                                                                09/30/22      Page
                                                                                                                      Yellow Pom    2Fringe
                                                                                                                                 Poms of 19Plush
                                                                                                                                             PageID      #:3024
                                                                                                                                                 Blanket Ultra Soft Comfy Throws for Bed Sofa Couch (60",Emoji)…




                  CafePress Emoji Upside         Emoji Super Soft Fleece       Emoji Artist Life Hashtag     CafePress Sleeping Emoji      CafePress Winky Tongue       Velvet Emoji Fleece
                  Down Smiling Face              Throw Blanket (Monkey)        Throw Blanket                 Throw Blanket Soft            Emoji Throw Blanket          Plush Throw Blanket,           w
                  Throw Blanket Soft             100% Polyester • Print        $49.99                        Fleece Throw Blanket,         Soft Fleece Throw            Super Soft Large
                  Fleece Throw Blanket,…         Pattern                                                     60"x50" Stadium B...          Blanket, 60"x50" Stadi...    Oversized Cozy…
                  Fleece • Solid Pattern                       7                                             100% Polyester • Solid        Fleece • Solid Pattern                    188
                  $49.99                         $9.99                                                       Pattern                       $49.99                       $24.45                         P
                                                                                                             $49.99



   4 stars and above                                                                                                                                                                              Page 1 of 28
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                  Velvet Emoji Fleece            BLUBLU Cute Panda             Delerain Red                  Dean Russo Perfect            Emoji Sleeping Face          Super Soft Plush Fleece
                  Plush Throw Blanket,           Flannel Fleece Bed            Watermelon Soft Throw         World Every Dog Has a         Emoticon Cushion             Throw Blanket by Dean
                  Super Soft Large               Blanket Throw Blanket         Blanket 40"x50"               Home Super Soft Plush         Stuffed Plush Soft           Russo (Unicorn)                S
                  Oversized Cozy…                Lightweight Cozy…             Lightweight Flannel…          Fleece Throw Blanket          Pillow, Official…            Fleece                         A
                               188               Flannel                                    319              Fleece • Floral Pattern                      4,372                         1,365
                  $24.45                                       1,154           $21.99                                       4,062          $12.99                       $19.99
                                                 $24.97                                                      $19.99



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   Product Description

                                Emoji Flannel Fleece Blanket(Diameter 60 inches)




                                Cute Smiling Face Blanket
                                Round emoji face design, yellow pom pom fringe were served around the blanket,which increased the fun of the bed flannel blanket.Trust me, this funny
                                blanket will be the focus of your holiday decoration.




https://www.amazon.com/Flannel-Blanket-Emoticon-Smiling-Novelty/dp/B09PH1VMDW/ref=sr_1_20?crid=1GF1NEVZVYI80&keywords=emoji%2Bblanket&qid=1643841520&sprefix=emoji%2Bblank%2Caps%2C303…                          2/6
2/9/22, 6:37 PM                          Case:
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                                                                                                                                      PageID      #:3025
                                                                                                                                          Blanket Ultra Soft Comfy Throws for Bed Sofa Couch (60",Emoji)…




                        Washing Instructions
                        Machine wash in cold water, gentle cycle, tumble dry on low when needed. Avoid direct heat. Put the toast bread blanket in laundry bag and washing on
                        the gentle setting.

                        Warm Tip: Please wash this flannel blanket before the first use.




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                                                                                                                               Poms of 19Plush
                                                                                                                                           PageID      #:3026
                                                                                                                                               Blanket Ultra Soft Comfy Throws for Bed Sofa Couch (60",Emoji)…




   Product information


       Package Dimensions                                   10 x 8 x 1 inches                               Warranty & Support

       Item Weight                                          1.32 pounds                                     Product Warranty: For warranty information about this product, please click here

       Manufacturer                                         Bedorm                                          Feedback
       ASIN                                                 B09PH1VMDW                                      Would you like to tell us about a lower price?

       Date First Available                                 December 31, 2021




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                  Pizza Emoji Pattern            CafePress Ghost Emoji          CafePress Sleeping Emoji   CafePress Winky Tongue       CafePress Pizza Emoji         CafePress Avocado Emoji
                  Throw Blanket                  Throw Blanket Soft             Throw Blanket Soft         Emoji Throw Blanket          Throw Blanket Soft            Throw Blanket Soft            C
                               9                 Fleece Throw Blanket,          Fleece Throw Blanket,      Soft Fleece Throw            Fleece Throw Blanket,         Fleece Throw Blanket,         S
                  $49.99                         60"x50" Stadium Blanket        60"x50" Stadium B...       Blanket, 60"x50" Stadi...    60"x50" Stadium Blanket       60"x50" Stadium Bl...         T
                                                 Fleece • Solid Pattern         100% Polyester • Solid     Fleece • Solid Pattern       Fleece • Solid Pattern        Fleece • Solid Pattern
                                                                1               Pattern                    $49.99                       $49.99                        $49.99
                                                 $49.99                         $49.99



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   4 star                                       0%

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                         Amazon.com: Emoji Flannel     1:22-cv-03652
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   3 star                                         0%

   2 star                                         0%

   1 star                                         0%
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                  Blanket                          Throw Blanket                       Throw Blanket                    Throw Blanket Soft           Throw Blanket Soft               Throw Blanket Soft
                                   20                               9                                   2               Fleece Throw Blanket,        Fleece Throw Blanket,            Fleece Throw Blanket,
                                                                                                                        60"x50" Stadium Blanket      60"x50" Stadium Blanket          60"x50" Stadium Blanket
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                                                                                                                 English                      United States




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                                         Yellow Pom Poms Fringe Plush Blanket Ultra                     FREE Prime Delivery with your free trial of Prime
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                                         (60",Emoji)
                                         $32.99                                                         Saturday, April 9 - Sunday, April 10
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2/9/22, 9:32 PM                                 Case: 1:22-cv-03652 Document #: 56-1 Filed:- Order
                                                                                 Amazon.com  09/30/22     Page 10 of 19 PageID #:3032
                                                                                                   112-0262941-2150621



                                                                      Details for Order #112-0262941-2150621
                                                                                       Print this page for your records.

            Order Placed: February 9, 2022
            Amazon.com order number: 112-0262941-2150621
            Order Total: $92.93


                                                                                             Not Yet Shipped

             Items Ordered                                                                                                                                                              Price




             1 of: Emoji Flannel Fleece Blanket Emoticon Smiling Face Throw Blanket Novelty Blanket Yellow Pom Poms Fringe Plush Blanket Ultra Soft Comfy Throws for Bed Sofa          $32.99
             Couch (60",Emoji)
             Sold by: Bedorm (seller profile)

             Condition: New


             Shipping Address:

             1851 TOWER DR
             GLENVIEW, IL 60026-7783
             United States


             Shipping Speed:
             Standard Shipping


                                                                                         Payment information
             Payment Method:                                                                                                                                        Item(s) Subtotal: $76.97
             MasterCard | Last digits:                                                                                                                          Shipping & Handling: $8.46
                                                                                                                                                                                         -----
             Billing address                                                                                                                                         Total before tax: $85.43
                                                                                                                                                        Estimated tax to be collected: $7.50
             1851 TOWER DR
                                                                                                                                                                                         -----
             GLENVIEW, IL 60026-7783
                                                                                                                                                                        Grand Total:$92.93
             United States


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3/9/22, 12:57 PM                              Case:Yellow
                            Amazon.com: Emoji Blanket 1:22-cv-03652       Document
                                                          Smile Emoji Blanket             #: 56-1
                                                                              Cozy Lightweight FlannelFiled:  09/30/22
                                                                                                       Fleece Round BlanketPage    11Ultra
                                                                                                                           60 Inches   of Soft
                                                                                                                                           19Emoticon
                                                                                                                                               PageID    #:3033
                                                                                                                                                      Blanket for Kids Teens and Adults(Diameter 60inches, Em…

                      Deliver to
   Skip to main content                            All       Amusing+Emoji+Emoticon
                                                                                                                                                                                            Hello,                    Returns               0
                      Naperville 60564‌                                                                                                                                                     Account & Lists           & Orders


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                                                                                                                       Emoji Blanket Yellow Smile                                              $
                                                                                                                                                                                                2999
                                                                                                                       Emoji Blanket Cozy Lightweight
                                                                                                                                                                                               & FREE Returns
                                                                                                                       Flannel Fleece Round Blanket
                                                                                                                                                                                               FREE delivery March 14 - 15
                                                                                                                       60 Inches Ultra Soft Emoticon
                                                                                                                                                                                               Or fastest delivery March 12 -
                                                                                                                       Blanket for Kids Teens and                                              13

                                                                                                                       Adults(Diameter 60inches,                                                     Deliver to     - Naperville 60564‌
                                                                                                                       Emoji)                                                                  Only 4 left in stock -
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                                                                                                                                                                                               Qty:
                                                                                                                                                                                                Qty:
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                                                                                                                       Size: Throw                                                             Sold by         MOVE OVER

                                                                                                                       Color: Emoji                                                            Return policy: Eligible for
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                                                                                                                                  $29.99               $29.99               $29.99

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                                                                                                                       Blanket             Throw Blanket                                             FREE trial of Prime
                                                                                                                       Form
                                                                                                                                                                                                     and get fast, FREE
                                                                                                                       Product             60"L x 60"W                                               delivery
                                                                                                                       Dimensions
                                                                                                                                                                                                     Add a gift receipt for easy
                                                                                                                       Brand               Move Over                                                 returns
                                                                                                                       Color               Emoji
                                                                                                                       Fabric Type         100% Microfiber                                         Add to List


                                                                                                                       About this item
                                                                                                                                                                                                       Share
                                                                                                                            Novelty Design: Our funny yellow emoji blanket
                                                                                                                            with smile. When you are wrapped inside,you can
                                                                                                                            feel the warmth of an amusing smile emoji blanket
                                                                                                                            anytime.To bring a Joyfulness to your family,
                                                                                                                            children, friends, colleagues and more.
                                                                                                                            Soft Flannel Material: This Emoji Blanket is made of
                                                                                                                            100% microfiber polyester flannel,cozy, breathable,
                                                                                                                            lightweight, amazing soft touch, fuzzy round smile
                                                                                                                            emoji throw blanket suitable for all seasons.
                                                                                                                            Surprise Gift: This stylish and innovative blanket
                                                                                                                            can be used in various festivals, various scenes,
                                                                                                                            suitable for parties, camping, backpacking and
                                                                                                                            traveling.It's also a perfect gift for family and
                                                                                                                            friends.
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                                                                                                                            Easy Care: Please kindly wash separately before
                                                                                                                            first use. Machine wash in cold water, gentle cycle,
                                                                                                                            tumble dry on low when needed.Please wash this
                                                                                                                            bed throw before use.
                                                                                                                            Satisfaction Guarantee: If you have any problems
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3/9/22, 12:57 PM                             Case:Yellow
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                                                         Smile Emoji Blanket             #: 56-1
                                                                             Cozy Lightweight FlannelFiled:  09/30/22
                                                                                                      Fleece Round BlanketPage    12Ultra
                                                                                                                          60 Inches    of Soft
                                                                                                                                           19Emoticon
                                                                                                                                               PageID    #:3034
                                                                                                                                                      Blanket for Kids Teens and Adults(Diameter 60inches, Em…
        This item: Emoji Blanket Yellow Smile Emoji Blanket Cozy Lightweight Flannel Fleece Round Blanket 60 Inches Ultra… $29.99
        TILTECH Sushi Blanket - Giant 6 Foot Fun Food Blanket for Adults - Soft & Warm Flannel, Funny Sushi Gifts & Decor… $29.99
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                                                                   $ 99

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                Emoticon Smiling Faces           Tache Kids Squishy Micro         200 Raining Emoticons            Angry Emoji Magnet           Peach Emoji Magnet         Halo Angel Emoji               O
                Wall Decal Stickers.             Bead so Happy Smiley             Wall Decal Sticker. Great        Decal Perfect for Car or     Decal Perfect for Car or   Magnet Decal Perfect for
                #6052 (6 inch Emoticon           Face Emoji Throw Pillow          Party Favors and for             Truck                        Truck                      Car or Truck
                Faces)                           Cushion Orange                   Kid's Room. #6093                             3                            115                        18
                             341                              16                               67                  $6.99                        $6.99                      $6.99
                $19.99                           $29.61                           $29.95


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                Party Favors and for             #6052 (6 inch Emoticon           Pillows Key Ring for             Truck                        Keychain for Birthday      Holders - Emoji Birthday
                Kid's Room. #6093                Faces)                           Birthday Event...                             115             Party Home Decoration      Party Favors, Emo...
                             67                               341                              496                 $6.99                                     1,871                       120
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3/9/22, 12:57 PM                             Case:Yellow
                           Amazon.com: Emoji Blanket 1:22-cv-03652       Document
                                                         Smile Emoji Blanket             #: 56-1
                                                                             Cozy Lightweight FlannelFiled:  09/30/22
                                                                                                      Fleece Round BlanketPage    13Ultra
                                                                                                                          60 Inches    of Soft
                                                                                                                                           19Emoticon
                                                                                                                                               PageID    #:3035
                                                                                                                                                      Blanket for Kids Teens and Adults(Diameter 60inches, Em…


   What's in the box
         1 Blanket



   Product Description

         Funny Food Throw Blanket
         Size
         Diameter 60 inches (Diameter 152cm )
         Material
         Made of 100% microfiber polyester flannel , which is soft, warm,cozy and lightweight. It can be used for all seasons.

         Versatile Use
         Can be used for bed,sofa, pet and travel, can wrap ourselves to enjoy movie on the couch ,indoor or outdoor travelling beach and airplane blanket etc.

         Novelty Design
         Inspired by our snacks food, realistic design, circular shape, amazing touch, brings you ultra soft experience and warmth.

         Easy Care
         Machine wash in cold water ,gentle cycle, tumble dry low. Avoid direct heat.
         Tip: It is better to wash before first time use,hang dry if you want to keep the sherpa side extra fluff.




   Product information


       Package Dimensions                                    8 x 8 x 1 inches                                         Warranty & Support

       Item Weight                                           9.6 ounces                                               Product Warranty: For warranty information about this product, please click here

       Manufacturer                                          Hollywin Textile Co.,Ltd                                 Feedback
       ASIN                                                  B09PG9P15F                                               Would you like to tell us about a lower price?

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                 OHill 60 Pack Mini Plush        Tache Kids Squishy Micro           Emoticon Smiling Faces           200 Raining Emoticons        Angry Emoji Magnet            Sleeping ZZZ Emoji
                 Emoticon Keychain Mini          Bead so Happy Smiley               Wall Decal Stickers.             Wall Decal Sticker. Great    Decal Perfect for Car or      Magnet Decal Perfect for
                 Pillows Key Ring for            Face Emoji Throw Pillow            #6052 (6 inch Emoticon           Party Favors and for         Truck                         Car or Truck                   T
                 Birthday Event...               Cushion Orange                     Faces)                           Kid's Room. #6093                         3                             3
                              496                             16                                 341                              67              $6.99                         $6.99
                 $28.97                          $29.61                             $19.99                           $29.95




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3/9/22, 12:57 PM                              Case:Yellow
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               Valerian Luxury Velvet                 Ultra Soft Corgi Lovers            Personalized Custom          Cute Pig Flannel Blanket        Lokapala Multi-             Cute Pig Cozy Soft
               Super Soft Light Weight                Blanket | I Love My Corgi          Corgi Fleece and Sherpa      for Girl Boy I Just Really      Styles,Just Really Like     Flannel Blanket Luxury
               Blanket Prints Fleece                  Blanket | Plush Sherpa             Throw Blanket for Men        Like Pigs Fleece Throw          Pigs Ok Cute Pink Piggy     Fleece Bed Blanket
               Year Round Home Dec…                   Blanket for Kids and               Women Kids Babies -          Blanket Super Soft Cozy         Throw Blanket Quilt         Throw Blanket
                                2,039                 Adults Warm Cozy Fuzzy             Blankets Perfect for         Plush Fuzzy Pink…               Bedspread Fleece            Lightweight for Sofa…
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               Throws                                                  609                               27           $22.99                                      37              $23.99
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                    Shaker Bottle Perfect for           Food Kitchen Scale,                Multifunction Can            Maker for Individual           Scale, Digital Grams and     Steel Digital Kitchen
                    Protein Shakes and Pre              Multifunction Scale                Opener / Bottle Opener,      Waffles, Hash Browns,          Ounces for Weight Loss,      Scale with LCD Display,
                    Workout, 20-Ounce,                  Measures in Grams and              8.34-Inch, Almond            Keto Chaffles with Easy        Baking, Cooking, Keto        Batteries Included
                    Black                               Ounces (Ash Grey)                  Cream                        to Clean, Non-Stick…           and Meal Prep, Medium,                        43,449
                                     54,459                              126,665                          54,145                         195,560       304 Stainless Steel           Amazon’s Choice     in Digital
                     #1 Best Seller in Kitchen              #1 Best Seller in Digital      #1 Best Seller in Manual      #1 Best Seller in Waffle                   95,661          Kitchen Scales
                    & Dining                            Kitchen Scales                     Can Openers                  Irons                          $9.99 - $28.73               $9.59
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                                    649                Print Magazine                           Print Magazine                            Print Magazine                      Print Magazine                       Print Magazine
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                      Emoji Blanket Yellow Smile Emoji Blanket Cozy Lightweight Flannel Fleece
                      Round Blanket 60 Inches Ultra Soft Emoticon Blanket for Kids Teens and                     Good news              , we're giving you a 6-month trial of Prime
                      Adults(Diameter 60inches, Emoji)                                                           Student
                      $29.99 - Quantity: 4
                      Sold by: MOVE OVER
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                   Change quantities or delete                                                                        FREE Prime Delivery with a free trial of

                                                                                                                      Monday, Mar. 14 - Tuesday, Mar. 15
                                                                                                                       FREE Shipping

                                                                                                                      Saturday, Mar. 12 - Sunday, Mar. 13
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                      Shipping address Change                               Payment method Change                             Add a gift card, promotion code, or
                                                                                                                                                                                        Items (4):                             $119.96
                                                                                 ending in                                    voucher
                                                                                                                                                                                        Shipping & handling:                      $9.26
                      28W700 PERKINS CT
                                                                                                                                Enter Code                      Apply                   Total before tax:                      $129.22
                      NAPERVILLE, IL 60564-9579                             Billing address Change
                      United States                                         Same as shipping address                                                                                    Estimated tax to be collected:            $9.28
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                      Estimated delivery: Mar. 12, 2022 - Mar. 13, 2022
                                          Emoji Blanket Yellow Smile Emoji Blanket                   Choose a delivery option:
                                          Cozy Lightweight Flannel Fleece Round                          Thursday, Mar. 10 - Sunday, Mar. 13
                                          Blanket 60 Inches Ultra Soft Emoticon                          FREE Prime Delivery
                                          Blanket for Kids Teens and Adults(Diameter                     with your trial of
                                          60inches, Emoji)
                                                                                                         Monday, Mar. 14 - Tuesday, Mar. 15
                                          $29.99 & FREE Returns
                                                                                                         FREE Shipping
                                          Amazon Prime eligible Join now
                                          Quantity: 4 Change                                             Saturday, Mar. 12 - Sunday, Mar. 13
                                          Sold by: MOVE OVER                                             $9.26 - Shipping
                                                                                                         Thursday, Mar. 10 - Sunday, Mar. 13
                                               Add a gift receipt
                                                                                                         $12.63 - Shipping
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            Amazon.com order number: 111-5621759-6482631
            Order Total: $118.77


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             Items Ordered                                                                                                                                                                  Price




             1 of: Emoji Blanket Yellow Smile Emoji Blanket Cozy Lightweight Flannel Fleece Round Blanket 60 Inches Ultra Soft Emoticon Blanket for Kids Teens and                         $29.99
             Adults(Diameter 60inches, Emoji)
             Sold by: MOVE OVER (seller profile)

             Condition: New


             Shipping Address:

             28W700 PERKINS CT
             NAPERVILLE, IL 60564-9579
             United States


             Shipping Speed:
             Standard Shipping


                                                                                            Payment information
             Payment Method:                                                                                                                                           Item(s) Subtotal: $102.50
             MasterCard | Last digits:                                                                                                                             Shipping & Handling:     $8.33
                                                                                                                                                                                             -----
             Billing address                                                                                                                                            Total before tax: $110.83
                                                                                                                                                           Estimated tax to be collected:   $7.94
             28W700 PERKINS CT
                                                                                                                                                                                             -----
             NAPERVILLE, IL 60564-9579
                                                                                                                                                                           Grand Total: $118.77
             United States


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